                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                            Plaintiff,
                                                                  Case No. 06-CR-264
              -vs-

BALDOMERO CASTILLO,

                            Defendant.


                              DECISION AND ORDER


              The defendant, Baldomero Castillo (“Castillo”), moves this Court for dismissal

of all counts filed against him based on the misconduct of the prosecutor. The offered

prosecutorial misconduct revolves around the government’s engagement in conduct or

activity designed to provoke Castillo into moving for a mistrial, thereby denying Castillo’s

rights under the double jeopardy clause of the Constitution. Castillo relies upon Oregon v.

Kennedy, 456 U.S. 667, 72 L.Ed. 2d 416, 102 S. Ct. 2083 (1982). Castillo must show two

things to succeed on his motion. First, he must show prosecutorial misconduct and second

that said conduct was engaged in to save a government case that was not proceeding

favorably for the government. It must be shown that the government intended to subvert the

protections guaranteed by the Double Jeopardy Clause. To resolve those contentions Castillo

requests an evidentiary hearing.

              First no evidentiary hearing is necessary. Second, no evidentiary hearing is

necessary because the Court viewed the evidence against Castillo as strong up to the point


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of the witness miscue. Finally, the Court’s conclusion that the evidence was and is strong

against Castillo prevents it from finding that the government’s case was bound for failure.

This in turn, prevents the Court from concluding that the government engaged in conduct

designed to provoke the mistrial.

              Castillo’s motion to dismiss the case against him in the above-captioned case

is DENIED.

              Dated at Milwaukee, Wisconsin, this 14th day of December, 2007.

                                                  SO ORDERED,


                                                  s/ Rudolph T. Randa
                                                  HON. RUDOLPH T. RANDA
                                                  Chief Judge




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